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   9                             UNITED STATES DISTRICT COURT
  10                        CENTRAL DISTRICT OF CALIFORNIA
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  12   YOLANDA VAN DYKE, an individual, Case No. 2:20-cv-07436 FMO (PJWx)
  13                Plaintiff,                     Assigned to:
                                                   Hon. Fernando M. Olguin, District Judge
  14         v.
                                                   ORDER RE: STIPULATION FOR
  15 ALZHEIMERS DISEASE & RELATED                  ENTRY OF DISMISSAL OF
     DISORDERS ASSOCIATION, INC., a                ACTION WITH PREJUDICE
  16 Delaware Corporation; DOES 1-10,              PURSUANT TO FRCP 41(A)(1)(A)
     Business Entities, Forms Unknown;             (II)
  17 DOES 11-20, Individuals; and DOES 21-
     30, inclusive,
  18                                               State Action Filed: July 1, 2020
                    Defendants.
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  21                                          ORDER
  22         FOR GOOD CAUSE APPEARING, it is hereby ORDERED that the action on
  23   file herein shall be dismissed pursuant to Federal Rule of Civil Procedure 41(a) with
  24   prejudice. Each side will bear its own attorneys’ fees and costs.
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  26   Dated: August 13, 2021                       /s/
                                              ___________________________________
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                                               Hon. Fernando M. Olguin
                                               Judge of the United States District Court
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                                       ORDER FOR DISMISSAL
